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   TM:EAG/AL
   F.#2010R00153

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   - - - - - - - - - - - - - - X

   UNITED STATES OF AMERICA

         - against -                              No. 11 CR 30 (SLT)

   ANDREW RUSSO, et al.,

                     Defendants.

   - - - - - - - - - - - - - - X




                   MEMORANDUM OF LAW IN SUPPORT OF THE
          GOVERNMENT’S MOTION FOR PERMANENT ORDERS OF DETENTION




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                             PRELIMINARY STATEMENT

               The government hereby moves for permanent orders of

   detention with respect to the following defendants, each of whom

   is a member or associate of the Colombo organized crime family of

   La Cosa Nostra (the “Colombo family”): Andrew Russo, Benjamin

   Castellazzo, Richard Fusco, Dennis Delucia, Reynold Maragni,

   Anthony Russo, Daniel Capaldo, Emanuele Favuzza, Joseph Savarese,

   Ralph Scopo, Jr., Ilario Sessa, Michael Castellano, Giuseppe

   Destefano, Anthony Durso and Scott Fappiano.

               As further described below, each of these defendants

   poses a danger to the community and a risk of flight, and should

   therefore be detained pending trial.1




         1
             The government makes this motion without prejudice to
   making additional arguments in support of the detention of any of
   the defendants whose detention the government seeks in this
   motion, and without prejudice to seeking a permanent order of
   detention against other defendants indicted in this or related
   matters.

                                         1
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                                    BACKGROUND

                The government proffers the following facts concerning

   the charges at issue and pretrial detention.2          See United States

   v. LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000) (the

   government is entitled to proceed by proffer in a detention

   hearing); United States v. Ferranti, 66 F.3d 540, 542 (2d Cir.

   1995) (same); United States v. Martir, 782 F.2d 1141, 1145 (2d

   Cir. 1986) (same).3

                The proffer includes a brief description of the

   following:    (1) the government’s investigation of the Colombo

   family and the defendants; (2) the defendants’ association with,

   and positions in, the Colombo family; and (3) the defendants’


         2
             The proffer of facts set forth herein does not purport
   to provide a complete statement of all facts and evidence of
   which the government is aware or that it will seek to introduce
   at trial.
         3
                As the Second Circuit has explained:

                [I]n the pre-trial context, few detention
                hearings involve live testimony or cross
                examination. Most proceed on proffers. See
                United States v. LaFontaine, 210 F.3d 125,
                131 (2d Cir. 2000). This is because bail
                hearings are “typically informal affairs, not
                substitutes for trial or discovery.” United
                States v. Acevedo-Ramos, 755 F.2d 203, 206
                (1st Cir. 1985) (Breyer, J.) (quoted
                approvingly in LaFontaine, 210 F.3d at 131).
                Indeed, § 3142(f)(2)(B) expressly states that
                the Federal Rules of Evidence do not apply at
                bail hearings; thus, courts often base
                detention decisions on hearsay evidence. Id.

   United States v. Abuhamra, 389 F.3d 309, 320 n.7 (2d Cir. 2004).

                                         2
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   involvement in the charged criminal activity, with particular

   attention to the charged crimes of violence.

   I.    Overview of the Investigation

               The Indictment is the most recent result of a long-term

   investigation by this Office, the Federal Bureau of Investigation

   and other law enforcement agencies into the ongoing criminal

   activities of the Colombo family.         The present charges are the

   product of the government’s use of a diverse array of

   investigative tools, including hundreds of hours of recordings

   made by cooperating witnesses over the past three years of many

   of the defendants discussing a variety of criminal activities,

   including murder.      Notably, these recordings unequivocally make

   clear that the Colombo family is thriving and continues to engage

   in various crimes including, among others, robbery, narcotics

   trafficking, fraud, extortion and loansharking.

   II.   The Defendants Are Members or Associates
         of the Colombo Family

               Every one of the charged defendants is a member or

   associate of La Cosa Nostra (“LCN”) -- a violent criminal

   enterprise responsible for numerous murders.

         A.    The Defendants’ Positions in the Colombo Family

               The government will establish the defendants’ positions

   within the Colombo family through consensual recordings, wiretap




                                         3
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   intercepts4 and the testimony of cooperating witnesses, as well

   as surveillance evidence and physical evidence.

                As alleged in the Indictment, the defendant Andrew

   Russo currently serves as the street boss of the Colombo family,

   Benjamin Castellazzo currently serves as the acting underboss and

   Richard Fusco currently serves as the consigliere.           Joseph Carna,

   Dennis Delucia, Reynold Maragni and Anthony Russo hold senior

   leadership positions as captains or acting captains.            In

   addition, Daniel Capaldo, Emanuele Favuzza, Vincent Febrraro,

   John Maggio, Theodore Persico, Jr., Nicky Rizzo, Joseph Savarese

   and Ralph Scopo, Jr., are “made” members of the Colombo family.

   With five exceptions, the remainder of the defendants charged in

   the above-captioned case are associates of the Colombo family.5

         B.     The Induction Ceremony Scheduled for December 7, 2010

                The consensual recordings also make clear that the

   Colombo family continues to induct new members.           For example, at

   a secret ceremony in January 2009, defendants Capaldo, Favuzza,

   Maggio, Anthony Russo and Savarese – along with one other

   individual – were inducted into the Colombo family.            The Colombo


         4
             The government hereby provides the defendants with
   notice, pursuant to 18 U.S.C. § 2518(9), of the government’s
   intent to rely on wiretap evidence gathered pursuant to court-
   authorized wiretaps in the prosecution of this matter.
         5
                The defendant Giovanni Galluzzo is a Luchese family
   associate.     The defendant John Dunn is a Gambino family
   associate.     The defendant Hector Pagan is a Bonanno family
   associate.     Vito Vizzi and Joseph Dimarco are LCN associates.

                                         4
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   family intended to hold another such ceremony at defendant

   Favuzza’s residence on December 7, 2010.          Defendant Ilario Sessa

   and three others were slated to be inducted into the Colombo

   family on that date with the assistance of, among others,

   defendants Castellazzo and Anthony Russo.          Much to Sessa’s

   chagrin, as evidenced on consensual recordings made by a

   cooperating witness, the induction ceremony was canceled after

   agents of the FBI identified the location where the ceremony was

   to be held and conducted surveillance.

               The events leading up to the scheduled ceremony and the

   aftermath of its cancellation were vividly captured on consensual

   recordings.     In a consensual recording made on December 5, 2010,

   Colombo family acting captain Anthony Russo and a cooperating

   witness (“CW-1”) drove to Sessa’s residence, where Anthony Russo

   engaged in a private conversation with Sessa.           Following their

   private conversation, Anthony Russo and Sessa separately told

   CW-1 that the ceremony at which Sessa would be inducted in the

   Colombo family would occur that week.         CW-1 also observed Sessa

   give Anthony Russo two plastic bags, one of which CW-1 later

   learned contained the firearm to be used in Sessa’s induction

   ceremony.    Anthony Russo and CW-1 then departed Sessa’s residence

   and traveled to Favuzza’s residence, where Anthony Russo dropped

   off the firearm.     The following day, Sessa commented to CW-1

   about his embarrassment at having to “bring his own” firearm to


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 his own induction ceremony.       Sessa explained to CW-1 that he had

 “three of these things . . . [U/I] .357 and a .38.”

             On the evening of December 6, 2010, the Colombo family

 canceled the ceremony due to law enforcement surveillance.             In

 light of the cancellation, Anthony Russo directed Sessa to

 retrieve the firearm he provided for the ceremony from Favuzza

 and Castellazzo.     On a consensual recording, Sessa complained:

             What do you think happened, the whole thing’s
             [the ceremony] dead . . . I had to back and
             get my thing [the firearm] . . . the whole
             thing is dead, everybody . . . I don’t know,
             it came from Anthony [Russo] . . . Anthony
             comes meets me in Brooklyn, says I gotta tell
             you something . . . I figure he’s gonna tell
             me what time [i.e., the time of the induction
             ceremony], find out what time . . . dead
             hand . . . that things no good go get
             it . . . pistol, you want a different
             one? . . . the whole thing’s dead, no
             good . . . it’s coming from this guy [Andrew
             Russo] . . . who he met . . . mumbling
             something about this guy . . . I don’t
             know . . . [Anthony] makes me go all the way
             back to the place [Favuzza’s residence] to
             get the pistol . . . I didn’t want to
             start . . . I got three felonies too . . . I
             went back there, took care of
             that . . . didn’t say it [the ceremony] was
             postponed or anything, said it’s dead
             . . . didn’t say postponed or dead said go
             back and get the gun . . . I said what’s
             happening . . . this guy [Andrew Russo] shut
             it down, closed down or stopped it
             completely.

 To date, Sessa and the other men proposed for induction at the

 December 2010 ceremony have not been inducted into the Colombo

 family.


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 III. The Defendants Are Charged With Crimes of Violence

             With the exception of Michael Castellano, each of the

 defendants for whom the government seeks pretrial detention is

 charged with one or more crimes of violence.          The following are

 brief summaries of the facts underlying some of the charges

 against these defendants.

       A.    Murder of Joseph Scopo

             As alleged in Count One (Racketeering Act One) of the

 Indictment, the defendant Anthony Russo is responsible for the

 1993 murder of Joseph Scopo.6       Joseph Scopo was murdered as he

 got out of the passenger seat of a vehicle parked in front of his

 residence in Ozone Park, Queens on October 20, 1993.            Scopo was

 killed in connection with the Colombo family war, during which

 the Colombo family split into two feuding factions, one loyal to

 Victor “Vic” Orena and the other loyal to Carmine “the Snake”

 Persico.    Joseph Scopo, who at the time of his murder was the

 underboss of the Colombo family and affiliated with the Orena

 faction, was the final Colombo family war casualty.

             On multiple consensual recordings, Anthony Russo

 admitted his participation in the Scopo murder.           For example, in

 one recording, Anthony Russo explained to a cooperating witness,




       6
           In November 1999, Colombo family associate John Pappa
 was convicted, after trial, of the Scopo murder.

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 CW-1, that he was in a nearby vehicle while Colombo family

 associate John Pappa fatally shot Joseph Scopo:

             Anthony Russo: I had my hat on. Hat flew
                            off. I ain’t kidding. And my
                            side window [U/I]

             CW-1:             [U/I]

             Anthony Russo: It came off. It came off. BF
                            was in the backseat. He said,
                            “What the fuck?” Are you
                            crazy! I jumped out of the
                            car. I was like a fuckin’ mad
                            hatter. I didn’t know what to
                            do. I started beep, beep,
                            beep, beep.

             CW-1:             What was [U/I] doing?

             Anthony Russo: Guy’s up the block. I emptied
                            out. You know what it is, the
                            fucking? From behind?

             CW-1:             I got shot.

             Anthony Russo: Do you know what it is to get
                            it from behind.

             Anthony Russo: He [BF] was laughing
                            hysterical in the back. You
                            ever see a friend laughing?
                            [Laughing]

             CW-1:             Yeah, cause his hat didn’t
                               come off.

             Anthony Russo: No, cause he [BF] was in the
                            car behind.

       B.    Robbery - Staten Island Residence

             As alleged in Count One (Racketeering Act Thirty-

 Three), Count Two (Racketeering Act Fifteen) and Count Forty of

 the Indictment, the defendants Scott Fappiano, Anthony Russo and

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 Joseph Savarese conspired to commit a violent home-invasion

 robbery of a legitimate businessman who was rumored to have $25

 million in cash in his residence.         Fappiano advised CW-1 about

 the potential “score” and asked CW-1 if he wanted to participate.

 When Savarese learned of the scheme, Savarese told another

 cooperating witness (“CW-2”) that he had two handguns, a .38

 caliber and a .45 caliber, and could get “bigger shit” if needed.

 Savarese later advised that he also had bulletproof vests that

 they could use.     Anthony Russo later suggested that they use a

 “bogus” license plate to avoid detection by law enforcement.

       C.    Extortion

             1.    Conspiracy to Extort the Gambino Family

             As alleged in Count One (Racketeering Act Thirty-Four),

 Count Two (Racketeering Act Sixteen) and Count Forty-One, the

 defendants Andrew Russo, Castellazzo, Delucia, Fusco and Anthony

 Russo conspired to extort members and associates of the Gambino

 family of money to pay for medical care and other expenses

 incurred by Colombo family associate Walter Samperi.            On May 16,

 2010, Samperi was stabbed by an individual affiliated with the

 Gambino family.     To compensate, members of the Colombo family

 initiated a formal dispute, or “beef,” with a member of the

 ruling panel of the Gambino family.

             After a series of meetings, or “sit-downs,” with

 members of the Gambino family, the Colombo family administration


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 members and the New York City-based captains met at a residence

 in Staten Island, where they discussed, among other things, the

 dispute over Samperi.      The meeting was captured in a

 consensually-made recording.        Andrew Russo, as the street boss of

 the Colombo family, presided over the meeting.           At the outset,

 Andrew Russo admonished Anthony Russo and the others present that

 they should not attend a sit-down with another LCN family without

 first alerting the Colombo family administration.           With respect

 to the stabbing of Samperi, Andrew Russo observed that they

 should have first “g[o]t even” and then initiated discussions

 with the Gambino family.

             The administration and the captains then discussed a

 variety of ways to obtain compensation for Samperi.            They

 ultimately agreed that, in exchange for their promise not to

 retaliate, the Colombo family would require the Gambino family to

 make a one-time payment of $150,000, $100,000 of which was to

 come from the Gambino family’s “basket” from the “feast,” a

 reference to an annual Italian feast held in late August on 18th

 Avenue in Brooklyn, the Figli di Santa Rosalia.7




       7
           Consensual recordings made during the course of the
 investigation demonstrate that the Colombo family has controlled
 the Figli di Santa Rosalia for several years.

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             2.     Extortion of a Gambling Club in the Bronx

             As alleged in Count Two (Racketeering Act Five) of the

 Indictment, the defendants Delucia and Sessa, as well as Colombo

 family associate “Phil,” who like Sessa was proposed to be

 inducted in the Colombo family, extorted a gambling club located

 in the Bronx.     On a consensual recording, Sessa explained to CW-1

 that Delucia had directed Sessa and Phil to go to a card club in

 the Bronx and to instruct the owners and operators of the card

 club that they could not operate their illegal card game such

 that it competed with Delucia’s card game.          Sessa explained that

 they went to the card club, wielding baseball bats and with Sessa

 carrying a gun.

             3.     Extortion Conspiracy - Container Seller

             As alleged in Count Two (Racketeering Act Six) of the

 Indictment, the defendant Joseph Savarese is charged with

 attempting to extort the right to receive payment for the sale of

 containers.      Specifically, Savarese pistol-whipped an individual

 who sought payment on a set of containers that had been delivered

 to an associate of Savarese.        On a consensual recording, Savarese

 explained that he assisted an individual who had purchased a

 “hundred-something containers,” but refused to pay the agreed-

 upon price for the containers.        Savarese admitted that, after the

 seller tried to collect “his money” from the individual, Savarese

 pistol-whipped the seller.       Savarese explained that he later


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 heard through organized crime channels that the seller wanted to

 meet with Savarese, but Savarese refused to meet regarding the

 dispute unless a “friend,” or an inducted member of LCN, reached

 out to Savarese.

             4.    Extortion - Local 6A

             As alleged in Count Two (Racketeering Act One), Count

 Three and Count Four of the Indictment, the defendant Ralph

 Scopo, Jr. (“Scopo”), extorted members of the Laborers’

 International Union of North America (“LIUNA”), Local 6A, through

 his control of Local 6A and the construction companies at whose

 sites Local 6A members work.        Historically, the Colombo family --

 and more specifically the Scopo family -- has controlled the

 election of officers and delegates, and the awarding of LIUNA

 membership cards for friends, family and criminal associates of

 the Colombo family notwithstanding a lack of qualifications or

 completion of an apprenticeship program.          As alleged in Count Two

 (Racketeering Act Two), Count Five and Count Six of the

 Indictment, Scopo also profited from his control of Local 6A by

 extorting those who obtained “coffee boy” positions, that is, the

 individuals who sold coffee and snacks to the union members.             In

 exchange for the position, the coffee boy had to provide half of

 the profits from his total sales to Scopo.




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              5.   Extortion - John Doe #14

              As alleged in Count One (Racketeering Act Thirty-Seven)

 and Count Two (Racketeering Act Eighteen) of the Indictment, the

 defendants Anthony Russo, Joseph Savarese and Giuseppe Destefano

 extorted John Doe #14 to prevent him from keeping open a gambling

 club that Russo and Savarese deemed too close to their gambling

 clubs.     Before the assault, Russo commented, “I don’t care if we

 have to hunt him all night. . . .         Crack him in the fucking mouth

 and give him a beat down.”       Thereafter, Anthony Russo, Savarese

 and Destefano assaulted John Doe #14.         Subsequently, in

 anticipation of retaliation by John Doe #14, the following Friday

 (the next day John Doe #14 was scheduled to hold a competing card

 games), Anthony Russo proposed: “Get everybody loaded up.             They

 come in, we shoot the shit out of them.”

       D.     Loansharking

              1.   Loansharking Conspiracy - John Doe #11

              As alleged in Count One (Racketeering Act Thirty-Two),

 Count Two (Racketeering Act Thirteen) and Count Thirty-Eight of

 the Indictment, the defendants Scott Fappiano and Reynold Maragni

 conspired to use extortionate means to collect a debt owed by

 John Doe #11.     On a consensual recording made by CW-1 in March

 2010, Fappiano explained:

              I might need you . . . if I do it I’ll go to
              jail . . . spoke to Reynold [Maragni] . . .
              I want to be diplomatic . . . it gets to the
              point where he may have to get his fucking

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             leg broken . . . I’ll make sure I’m in court
             somewhere or doing a deposition . . . the
             last time I was in Punta Cana when they went
             to get him, he called the cops . . . he seen
             him coming.

 Fappiano later provided CW-1 with a slip of yellow paper that

 listed the debtor’s name, business address, mother’s address and

 other identifying information so that CW-1 could locate, assault

 and collect gambling losses owed by John Doe #11.

             2.    Loansharking - John Doe #15 and John Doe #17

             As alleged in Count One (Racketeering Acts Thirty-Nine

 and Forty-One), Count Two (Racketeering Acts Twenty-Two and

 Twenty-Four), Count Forty-Seven, Count Forty-Eight, Count Fifty

 and Count Fifty-One of the Indictment, the defendants Anthony

 Durso, Giovanni Galluzzo, Anthony Russo and Ilario Sessa

 variously used extortionate means to attempt to collect debts

 owed by John Doe #15 and John Doe #17.         On a consensual

 recording, Anthony Russo mentioned that he had received a message

 from an incarcerated Colombo family soldier, who asked for

 Russo’s assistance in collecting outstanding loanshark debts,

 including debts owed by John Doe #15 and John Doe #17.            Anthony

 Russo explained that, at his direction, Sessa and Durso, while

 Galluzzo stood guard, assaulted John Doe #15 when he claimed not

 have the money.     Sessa stated that at one point during the

 assault, he held a knife to the face of John Doe #15.            Also at

 the direction of Anthony Russo, Sessa confronted John Doe #17 in


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 an attempt to collect a debt he owed.         Sessa later observed to

 CW-1 that he would put John Doe #17 “in the hospital.”

             3.      Loansharking Conspiracy - John Doe #19

             As alleged in Count One (Racketeering Act Forty-Three),

 Count Two (Racketeering Act Twenty-Seven) and Count Fifty-Five of

 the Indictment, the defendants Reynold Maragni and Anthony Russo

 conspired to use extortionate means to collect a debt owed by

 John Doe #19.     On a consensual recording, Maragni explained to

 CW-1:

             MARAGNI:          We’re gonna grab someone when
                               I come up. This kid Vincent.
                               He’s got a surveying company.
                               When we had the conversation,
                               everything this kid. We’re
                               gonna kick the shit out of
                               him.

             MARAGNI:          I’ll talk to Anthony [Russo]
                               when I come up.

             CW-1:             You mean about your situation.

             MARAGNI:          There was a settlement. I
                               settled for 20. They were
                               supposed to live up to his end
                               of the bargain. 13. Supposed
                               to give me the other seven.
                               Time share thing. 400 per
                               month. I told him two days, I
                               spoke to you, he gave you me
                               word. Now I don’t want to
                               talk to you any more. Now I
                               want the whole 40. The time
                               share, I want the whole
                               fuckin’ thing. That’s another
                               $25,000. Either you give me
                               the money. I’m gonna abuse
                               Stevie Mad Dog. I want to be
                               introduced to him.

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 In a subsequent consensual recording, Maragni provided CW-1 with

 additional identifying information for John Doe #19 and asked

 CW-1 to threaten this individual and tell him he better start

 paying his debt.     Therafter, CW-1 told Anthony Russo about

 Maragni’s request, and Anthony Russo agreed to pursue the matter.

             4.    Loansharking - John Doe #20

             As alleged in Count Two (Racketeering Act Seven) of the

 Indictment, the defendants Dennis Delucia and Joseph Savarese

 used extortionate means to collect a debt owed by John Doe #20.

 Savarese admitted his participation in a consensual recording:

             But in the summertime, we came an agreement
             with this cocksucker, Louis Ganoli. I beat
             him up over here, like, last year. I was
             pounding him for the money, talking to him a
             couple times. I sent for him a couple of
             times. He came over here to meet me. Larry
             [Sessa] was just pulling up and got out of
             the car. We gave him a beating right there.
             Larry jumped out of the car, we both beat him
             up. Then he left. Then the son got in
             touch. The son told me that I don’t want my
             father to get hurt again, I wanna pay. I
             said, alright. I told him to pay, that’s the
             only way he’s not going to get hurt again.
             The figure was 13,000. They had a guy from
             the West side, a goodfellow from the West
             side. Reached out to Dennis [Delucia]. Told
             Dennis that he wanted to straighten it out.
             Told the kid Dennis, will you take 8,000.
             Dennis said yeah. He says, alright; he gave
             the money to Dennis. Dennis gave the money
             to me. And I gave the money to Christina.
             That’s the only money that. I never sent
             money to the account.




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       E.     Bribery Scheme

              As alleged in Count Two (Racketeering Act Fourteen) and

 Count Thirty-Nine of the Indictment, the defendant Reynold

 Maragni engaged in a scheme to attempt to bribe a public servant

 in the State of Florida to cause the commutation of the sentence

 of a relative of a cooperating witness who had been sentenced to

 a lengthy term of imprisonment.        On a consensual recording,

 Maragni explained that the amount of the bribe “could be anywhere

 from 25 to 50,” and later added that his contact “m[ight] turn

 around and tell me 100.”       Maragni vowed, “I’m gonna do everything

 I can, to let him agree to take as least amount as I can.”

              In September 2010, CW-1 traveled to Florida to meet

 with Maragni, who told CW-1 that during the previous day, Maragni

 had met his contact, whom he described as a lawyer, for three

 hours.     Maragni said that his contact asked for $80,000 to

 $85,000 to help CW-1’s relative.          Maragni later told CW-2 that

 the agreed-upon bribe was $80,000, to be paid in three

 installments.

              In November 2010, on behalf of CW-1, CW-2 provided

 $25,000 to Maragni, representing the first of three planned

 payments.    However, when Maragni subsequently advised CW-1 that

 he would not deliver the bribe money to his contact for several

 weeks, CW-1 requested that Maragni return the money, and Maragni

 agreed.    In furtherance of the bribery scheme, Maragni traveled


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 between Florida and New York and New Jersey, in addition to using

 facilities in interstate commerce.

       F.    Fraud - MoneyGram

             As alleged in Count One (Racketeering Acts Fifteen to

 Eighteen) and Counts Ten to Fourteen of the Indictment, the

 defendants Michael Castellano and John Rossano engaged in a

 scheme to defraud MoneyGram of more than $1.5 million.            To

 effectuate the scheme, Castellano placed numerous calls to

 MoneyGram, posing as employees of MoneyGram outlets, to arrange

 for the transmission of MoneyGram money orders.           In each of the

 calls, Castellano provided the outlet’s pin number.            Rossano and

 Castellano, together with others, then traveled to MoneyGram

 outlets in various states to collect these money orders.            To pick

 up the orders, the coconspirators presented fraudulent

 identification documents.

                                  DISCUSSION

 I.    Legal Standard

       A.    Bail Reform Act

             Under the Bail Reform Act, 18 U.S.C. § 3141 et seq.,

 federal courts are empowered to order a defendant’s detention

 pending trial upon a determination that the defendant is either a

 danger to the community or a risk of flight.          See 18 U.S.C.

 § 3142(e) (“no condition or combination of conditions would

 reasonably assure the appearance of the person as required and


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 the safety of any other person and the community”).            A finding of

 dangerousness must be supported by clear and convincing evidence.

 See Ferranti, 66 F.3d at 542; United States v. Chimurenga, 760

 F.2d 400, 405 (2d Cir. 1985).        A finding of risk of flight must

 be supported by a preponderance of the evidence.           See United

 States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987); Chimurenga, 760

 F.2d at 405.

              The Bail Reform Act lists four factors to be considered

 in the detention analysis: (1) the nature and circumstances of

 the crimes charged, (2) the history and characteristics of the

 defendant, (3) the seriousness of the danger posed by the

 defendant’s release, and (4) the evidence of the defendant’s

 guilt.     See 18 U.S.C. § 3142(g).

       B.     Organized Crime Defendants

              Courts in this circuit have routinely faced the issue

 of pretrial detention of organized crime defendants charged with

 racketeering-related offenses.        See, e.g., United States v.

 Cirillo, Cr. No. 05-212 (SLT), slip op. (E.D.N.Y. 2005) (Genovese

 family acting bosses Dominick Cirillo and Lawrence Dentico, as

 well as Genovese family captain Anthony Antico, detained as

 dangers to the community), aff’d, 149 Fed. Appx. 40 (2d Cir.

 2005); United States v. Gotti, 219 F. Supp. 2d 296, 299-300

 (E.D.N.Y. 2002) (Gambino family acting boss Peter Gotti detained

 as danger to the community), aff’d, United States v. Ciccone, 312


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 F.3d 535, 543 (2d Cir. 2002); United States v. Agnello, 101 F.

 Supp. 2d 108, 116 (E.D.N.Y. 2000) (Gambino family captain Carmine

 Agnello detained as danger to the community); United States v.

 Defede, 7 F. Supp. 2d 390, 395-96 (S.D.N.Y. 1998) (Luchese family

 acting boss Joseph Defede detained as danger to the community);

 United States v. Salerno, 631 F. Supp. 1364, 1375 (S.D.N.Y. 1986)

 (Genovese acting boss and captain detained as danger to the

 community), order vacated, 794 F.2d 64 (2d Cir.), order

 reinstated, 829 F.2d 345 (2d Cir. 1987).

             Together, these cases stand, at the very least, for the

 following propositions: (1) leaders of a violent organized

 criminal enterprise are dangerous due to their position of

 authority in that enterprise; (2) organized crime defendants

 often constitute dangers to the community due to the high

 likelihood that they will continue to commit crimes if released

 on bail; and (3) elaborate bail packages involving home detention

 and electronic monitoring are insufficient safeguards to protect

 the community against dangerous organized crime defendants.

             1.    Organized Crime Leaders Are
                   Dangers to the Community

             Pretrial detention is warranted where defendants,

 charged with violent crimes, are leaders or high-ranking members

 of a criminal organization whose activities routinely include

 violence and threats of violence.         See Ciccone, 312 F.3d at 543;

 United States v. Colombo, 777 F.2d 96, 99-100 (2d Cir. 1985);

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 United States v. Bellomo, 944 F. Supp. 1160, 1166 (S.D.N.Y.

 1996).    Courts in this circuit have recognized that when

 organized crime depends on a pattern of violent conduct of the

 sort charged in this case, the risk to the community is

 substantial and justifies detention.

             For example, in Defede, Joseph Defede was charged with

 extortion and extortion conspiracy.         The district court ordered

 Defede’s pretrial detention, finding that the government had

 shown by clear and convincing evidence that Defede was the acting

 boss of the Luchese family, thus rendering him a danger to public

 safety:    “The acting boss of the Luchese family supervises all of

 its far-flung criminal activities, including acts of violence.

 Defede’s continued liberty therefore presents a substantial

 danger to the public . . . .”        Defede, 7 F. Supp. 2d at 395.

             More recently, a court in this District denied bail to

 the acting boss of the Genovese family who “participated at the

 highest levels in directing an organization alleged in the

 indictment to be committed to acts of violence to perpetuate its

 activities and insulate itself from detection by law

 enforcement,” Cirillo, slip. op. at 7, as well as a former acting

 boss who “is at the highest levels of the Genovese family,

 participating in highly secret induction ceremonies and sit-

 downs, and representing the family in important meetings,” id. at

 11.   The Second Circuit affirmed those findings by summary order.


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 See 149 Fed. Appx. at 43 (2d Cir. 2005) (“This court has affirmed

 the detention of the leaders of organized crime enterprises on

 the ground that their continued liberty presents a risk to the

 public not only from their own violent activities but from those

 of subordinates whom they supervise.”) (citing Ciccone, 312 F.3d

 at 543).

             In addition, to be detained as a danger to the

 community, an organized crime defendant need not be charged in

 specific predicate acts of violence; it is enough that his

 position is at the helm of a violent organization.           Ciccone, 312

 F.3d at 542-43; see also Ferranti, 66 F.3d at 543 (noting that

 the defendant need not have committed the violence himself; he

 can be deemed dangerous if he directed others to commit acts of

 violence) (citing Colombo, 777 F.2d at 98).          As one court has

 pointed out, an organized crime leader “is dangerous because

 inherent in the leadership position is the supervision of

 criminal activity that cannot be curtailed by any condition or

 combination of conditions of release.”         Gotti, 219 F. Supp. 2d at

 299-300 (citations omitted).

             To be sure, courts’ decisions to deny bail to organized

 crime leaders have not been based solely on the defendants’ mere

 “association” with organized crime, but rather on the evidence

 that members of organized crime, and in particular, high-ranking

 members of organized crime, routinely engage in acts of violence


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 as a result of their position in a criminal enterprise.            As the

 court held in Defede:

             [I]t is well established that persons who
             hold Defede’s status routinely engage in
             conduct that is a menace to public safety.
             The argument thus is based not on the status,
             but on the inference that a person in
             Defede’s position is quite likely to engage
             in dangerous conduct – just as one reasonably
             could infer that one holding the position of
             major league baseball pitcher is entirely
             likely to hurl a small white object in the
             direction of home plate.

 7 F. Supp. 2d at 392 n.4.

             Moreover, in enacting the Bail Reform Act, Congress

 recognized that certain defendants, such as high-ranking members

 of an organized crime family fall within a “‘small but

 identifiable group of particularly dangerous defendants as to

 whom neither the imposition of stringent release conditions nor

 the prospect of revocation of release can reasonably assure the

 safety of the community.’”       Colombo, 777 F.2d at 99 (quoting S.

 Rep. No. 225 98th Cong., 1st Sess. at 6-7, as reprinted in 1984

 U.S. Code Cong. & Admin. News 3182 (“Senate Report”), 3188-89).

             Nor is the above caselaw narrowly limited to organized

 crime “bosses” or “acting bosses.”         In Salerno, 631 F. Supp. at

 1374-75, the court held that a defendant would be a danger to the

 community if released on bail based on evidence that he was a

 captain in an organized crime family who managed the enforcement

 operations of the enterprise.        Likewise, in Colombo, a captain of


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 a crew in the Colombo family was ordered detained because the

 operation of that organization posed a risk to the public and a

 danger to the community by its “consistent pattern of

 orchestrating a series of violent criminal operations.”            777 F.2d

 at 99-100 (internal quotation marks omitted).

             2.    Organized Crime Defendants Are Likely
                   to Commit Crimes if Released on Bail

             Organized crime defendants also pose a particular

 threat to the community due to the continuing nature of the

 charged enterprise and its violent criminal activities.            At

 bottom, because organized crime defendants are career criminals

 who belong to an illegal enterprise, they pose a distinct threat

 to commit additional crimes if released on bail.           See Salerno,

 631 F. Supp. at 1375 (finding that the illegal businesses of

 organized crime require constant attention and protection, and

 recognizing a strong incentive on the part of its leadership to

 continue business as usual).

             In addition, defendants pose a danger to the community

 not only when they commit acts of violence, but when it is likely

 that they will commit even non-violent crimes that are

 detrimental to the community.        See Senate Report at 3195

 (“language referring to safety of the community refers to the

 danger that the defendant might engage in criminal activity to

 the detriment of the community . . . .         The Committee intends

 that the concern about safety be given a broader construction

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 than merely danger of harm involving physical violence.”).             In

 Colombo, the court held “[i]n light of Congress’ direction that

 ‘[w]here there is a strong probability that a person will commit

 additional crimes if released, the need to protect the community

 becomes sufficiently compelling that detention is, on balance,

 appropriate.’”     777 F.2d at 99 (quoting Senate Report at 3189).

 In Salerno, the court upheld the detention of two leaders of the

 Genovese organized crime family, noting:

             The activities of a criminal organization
             such as the Genovese Family do not cease with
             the arrest of its principals and their
             release on even the most stringent of bail
             conditions. The illegal businesses, in place
             for many years, require constant attention
             and protection, or they will fail. Under
             these circumstances, this court recognizes a
             strong incentive on the part of its
             leadership to continue business as usual.
             When business as usual involves threats,
             beatings, and murder, the present danger such
             people pose in the community is self evident.

 631 F. Supp. at 1375.

             3.    Elaborate Bail Packages Are Insufficient to
                   Protect the Community Against Violent
                   Organized Crime Defendants

             Finally, the Second Circuit repeatedly has rejected

 “elaborate” bail packages for dangerous defendants, including

 leaders of organized crime families shown to be involved in

 violent criminal activities.        See United States v. Dono, Nos. 07-

 5333-cr(L), 07-5334-cr(CON), 275 Fed. Appx. 35, 2008 WL 1813237,

 at *2-3 (2d Cir. Apr. 23, 2008) (rejecting conditions that


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 included, among others, home detention and electronic monitoring,

 and a requirement that the defendant’s father – a retired police

 officer – take “personal responsibility” for the defendant);

 Ferranti, 66 F.3d at 543-44 (rejecting $1 million bail secured by

 real property); United States v. Orena, 986 F.2d 628, 630-33 (2d

 Cir. 1993) (rejecting $3 million bail secured with real property,

 in-home detention, restricted visitation and telephone calls, and

 electronic monitoring); Colombo, 777 F.2d at 97, 100 (rejecting,

 among other conditions of release, $500,000 bail secured by real

 property).

              The Second Circuit has viewed home detention and

 electronic monitoring as insufficient to protect the community

 against dangerous individuals.        In United States v. Millan, the

 Second Circuit held that:

              Home detention and electronic monitoring at
              best elaborately replicate a detention
              facility without the confidence of security
              such a facility instills. If the government
              does not provide staff to monitor compliance
              extensively, protection of the community
              would be left largely to the word of [the
              defendants] that [they] will obey the
              conditions.

 4 F.3d 1039, 1049 (2d Cir. 1993) (internal citations and

 quotation marks omitted).       See also Orena, 986 F.2d at 632

 (“electronic surveillance systems can be circumvented by the

 wonders of science and of sophisticated electronic technology”)

 (internal citation and quotation marks omitted).


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             Similarly, courts in this district have denied

 dangerous defendants bail in recognition of the Second Circuit’s

 dim view of the effectiveness of home detention and electronic

 monitoring.     See, e.g., Dono, 2008 WL 1813237, at *2-3 (noting

 that the idea that “‘specified conditions of bail protect the

 public more than detention is flawed’”) (quoting Orena, 986 F.2d

 at 632); United States v. Cantarella, No. 02-CR-307 (NGG), 2002

 WL 31946862, at *3-4 (E.D.N.Y. Nov. 26, 2002) (adopting

 “principle” of “den[ying] bail to ‘dangerous’ defendants despite

 the availability of home detention and electronic surveillance

 and notwithstanding the value of a defendant’s proposed bail

 package”); Agnello, 101 F. Supp. 2d at 116 (Gershon, J.) (“the

 protection of the community provided by the proposed home

 detention remains inferior to that provided by confinement in a

 detention facility”); United States v. Masotto, 811 F. Supp. 878,

 884 (E.D.N.Y. 1993) (rejecting bail because “the Second Circuit

 appears to be saying to us that in the case of ‘dangerous

 defendants’ the Bail Reform Act does not contemplate the type of

 conditions suggested by this Court [including home confinement

 and electronic monitoring] and that, even if it did, the

 conditions would not protect the public or the community, given

 the ease with which many of them may be circumvented”).




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 II.   The Defendants Should Be Detained

       A.    The Defendants Are a Danger to the Community

             Defendants Andrew Russo, Castellazzo, Fusco, Delucia,

 Maragni, Anthony Russo, Capaldo, Favuzza, Savarese, Scopo, Sessa,

 Castellano, Destefano, Fappiano and Durso pose a substantial

 danger to the community.       Each defendant is affiliated with a

 violent criminal enterprise and, with the exception of

 Castellano, has engaged in violence, planned violence, possessed

 firearms for the purpose of engaging in violence, or threatened

 violence.    As discussed more specifically below, each of the

 relevant considerations under the Bail Reform Act strongly favors

 detention here.

             1.     Nature and Circumstances of the Crimes Charged

             First, with the exception of Castellano, each of the

 defendants for whom the government seeks detention is charged

 with crimes of violence under the relevant provisions of the Bail

 Reform Act.      See Ciccone, 312 F.3d at 542 (citing 18 U.S.C.

 §§ 3156(a)(4)(A), (B)) (Bail Reform Act defines a “crime of

 violence” as an offense that has as one of its elements the

 “attempted use, or threatened use of physical force against the

 person or property of another,” or “any other offense that is a

 felony and that, by its nature, involves a substantial risk that

 physical force against the person or property of another may be

 used in the course of committing the offense”); Chimurenga, 760


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 F.2d at 404 (conspiracy to commit a crime of violence is a crime

 of violence for purposes of the Bail Reform Act).

                Furthermore, one of the charges against Castellazzo,

 Favuzza, Anthony Russo, Savarese and Sessa – possession of a

 firearm in furtherance of racketeering conspiracy (Counts Thirty,

 Fifty-Nine and Sixty)8 – carries a statutory presumption against

 bail.       See 18 U.S.C. § 3142(e).    The rebuttable presumption

 shifts the burden of production to the defendant.           See Martir,

 782 F.2d at 1144.      Moreover, even if the defendant satisfies this

 burden, the court should continue to give some weight to the

 presumption, “keeping in mind that Congress has found that these

 offenders pose special risks” and that “a strong probability

 arises that no form of conditional release” will adequately

 protect the community.       Id. (applying standard with regard to the

 presumption of flight) (citation and internal quotation marks

 omitted).

                2.   History and Characteristics of the Defendants

                The defendants’ history and characteristics also

 clearly favor detention.




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           The Second Circuit has held that “where the government
 proves (1) the commission of at least two acts of racketeering
 and (2) at least two of those acts qualify as ‘crime[s] of
 violence’ under [18 U.S.C.] § 924(c), a [18 U.S.C.] § 1962
 conviction serves as a predicate for a conviction under
 § 924(c).” United States v. Ivezaj, 568 F.3d 88, 96 (2d Cir.
 2009).

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                      a.   Andrew Russo

              As noted above, defendant Andrew Russo is currently the

 street boss of the Colombo family, a violent criminal enterprise,

 and is charged with, among other crimes, racketeering conspiracy,

 including extortion conspiracy and loansharking as predicate

 acts, which constitutes a crime of violence.          Notably, in his

 capacity as the street boss of the Colombo family, Andrew Russo

 has required Colombo family members to obtain approval from the

 Colombo family administration regarding all decisions involving

 the affairs of the Colombo family.         Furthermore, Andrew Russo has

 numerous capable individuals to carry out violent crimes at his

 direction.    For example, on one consensual recording, Anthony

 Russo, one of Andrew Russo’s most reliable captains, said:

              Anthony Russo: I haven’t been anywhere.
                             Every time I turn around,
                             there’s a problem I gotta go
                             handle. Why do I have to
                             handle?

              CW-1:             Why do you gotta go all the
                                time?

              Anthony Russo: I don’t know, the guy [Andrew
                             Russo] wants me to go.   I’m
                             gonna go to jail.

 Anthony Russo also explained the requirements set by Andrew Russo

 to become an inducted member of the Colombo family: “First, he’s

 gotta be capable in here [i.e., his head].          And he’s gotta be

 capable to do this [i.e., murder].         They gotta be capable to do

 time [i.e., jail time].       They gotta be capable of everything.”

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             Moreover, Andrew Russo has made clear that he will not

 hesitate to personally engage in violence.          For example, on one

 consensual recording, Andrew Russo commented, “I don’t hesitate,

 I’ve never hesitated” to hurt an individual if the individual

 stepped out of line.      He has also made clear that he has no

 intention of disassociating himself from the Colombo family or La

 Cosa Nostra.     He stated, “I can’t walk away . . . .         I can’t

 rest.”

             In addition, Andrew Russo has prior convictions for

 various felony offenses, including bribery, witness tampering and

 racketeering.     Notably, Andrew Russo was released from a term of

 supervised release on or about March 22, 2010, and was shortly

 thereafter appointed as the street boss of the Colombo family.

                   b.    Benjamin Castellazzo

             Defendant Castellazzo currently holds the position of

 the acting underboss of the Colombo family, is charged with

 extortion, loansharking, and possession of a firearm, all crimes

 of violence.     Additionally, Castellazzo has prior convictions

 for, among other crimes, extortion and loansharking.

                   c.    Richard Fusco

             Defendant Fusco currently holds the position of the

 consigliere of the Colombo family.         He is charged with extortion

 conspiracy, which constitutes a crime of violence.           Fusco has

 prior convictions for racketeering and fraud.

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                   d.    Dennis Delucia

             Defendant Delucia is a captain in the Colombo family.

 He is charged with extortion and extortion conspiracy, which

 constitute crimes of violence.        He has prior convictions for,

 among other crimes, extortion and extortion conspiracy.

                   e.    Reynold Maragni

             Defendant Maragni is a captain in the Colombo family.

 He is charged with extortion and multiple conspiracies to use

 extortionate means to collect extensions of credit, which

 constitute crimes of violence.        In addition, Maragni is charged

 with money laundering, a bribery scheme and a conspiracy to

 distribute narcotics.      In addition to the crimes set forth above

 where Maragni has solicited coconspirators to engage in acts of

 violence, Maragni asked CW-1 to assault an individual who

 disrespected a relative of the official underboss Genarro

 Langella.    Specifically, Maragni asked CW-1 to threaten an

 individual with bodily harm if the individual further

 disrespected the relative.

             Maragni also has a prior felony conviction for

 racketeering.

                   f.    Anthony Russo

             In January 2009, while Anthony Russo was serving a term

 of supervised release, he was inducted into the Colombo family

 and was promoted to acting captain in June 2010.           He is charged

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 with murder, extortion, extortion conspiracy, loansharking,

 loansharking conspiracy and firearms possession, which constitute

 crimes of violence.      Indeed, on one consensual recording, Anthony

 Russo told CW-1 that he was carrying “a pistol.”

             As noted above, Anthony Russo is captured discussing

 his threats and acts of violence during numerous recorded

 conversations.     In addition, Anthony Russo has made numerous

 other comments, captured on consensual recordings, evidencing his

 willingness to commit violence.        He once stated to CW-1 that they

 were “the only guys willing to go to war.”          On another occasion,

 he threatened that he was going to hit a debtor in the head with

 a pipe.

             On consensual recordings, Anthony Russo has also made

 clear the harm he would inflict on any individuals determined to

 be cooperating witnesses.       For example, on a consensual recording

 made by CW-1 in December 2010, Anthony Russo observed that there

 was a “rat real close to us” and stated that he wanted to find

 the individual and “chop his head off.”

             Anthony Russo has a prior conviction for racketeering

 conspiracy.

                   g.    Daniel Capaldo

             In January 2009, while Capaldo was serving a term of

 supervised release, Capaldo was inducted into the Colombo family.

 Capaldo is charged with loansharking offenses, which are crimes


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 of violence.     Notably, he committed at least one of the crimes

 charged while he was serving a term of supervised release.             In

 addition, Capaldo recently pleaded guilty to racketeering

 conspiracy in connection with conduct he committed while on

 supervised release.

                   h.    Emanuele Favuzza

             In January 2009, Favuzza was inducted into the Colombo

 family.    Favuzza is charged with racketeering conspiracy,

 including loansharking offenses as predicate acts, and firearms

 possession in connection with racketeering conspiracy.            Notably,

 Favuzza committed one of the charged crimes while he was serving

 a term of probation.

                   i.    Joseph Savarese

             Joseph Savarese was inducted into the Colombo family in

 January 2009, while he was serving a federal sentence in a

 halfway house.     Savarese also admitted to CW-1, during a

 consensually-recorded conversation, that he had wanted to

 participate in a robbery while he was in the halfway house, but

 could not in light of his curfew:9

             When I was in the halfway house, Gaspar
             [Marciante] came to meet me at the Post
             [where Savarese was employed], telling me,
             “Me [Marciante] and Carmine [Carini] are
             going to do a fuckin’ score tomorrow if you


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           The individuals who asked Savarese to participate were
 later charged in the Eastern District of New York with a series
 of robberies.

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             wanna come.” I said, “I’m in the halfway
             house. I can’t leave. How am I gonna get
             out?” . . . I wanted to go.

             Savarese is charged with, among other crimes,

 racketeering conspiracy, including robbery conspiracy, extortion,

 loansharking and narcotics distribution as predicate acts, as

 well as brandishing a firearm.        Savarese has a prior conviction

 for racketeering conspiracy in connection with Savarese’s

 participation in the Colombo family war, and is currently serving

 a term of supervised release.        Notably, Savarese committed all of

 the charged crimes while he was serving a term of supervised

 release.

                   j.    Ralph Scopo, Jr.

             Ralph Scopo, Jr., is an inducted member of the Colombo

 family and has a history of corruptly influencing the affairs of

 Local 6A (the very union he is charged with extorting).            Scopo

 also has a lengthy criminal history, including a 2006 conviction

 for making an extortionate extension of credit, for which he

 received a sentence of time served and a three-year term of

 supervised release.      Notably, Scopo committed the charged

 racketeering conspiracy while he was serving this term of

 supervised release.

                   k.    Ilario Sessa

             Sessa is a long-time associate of the Colombo family

 and as detailed above was scheduled to become an inducted member


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 of the family in December 2010.        Sessa is charged with

 racketeering conspiracy, including extortion and loansharking as

 predicate acts, and possession of a firearm in connection with

 racketeering conspiracy.       In a consensual recording made in

 December 2010, Sessa advised Anthony Russo and CW-1 that he

 “always” carried a knife.

             As Sessa has admitted in consensual recordings, he has

 two prior felony convictions, both of which relate to his

 affiliation with the Colombo family.         In December 2008, Sessa was

 arrested for a violation of supervised release, to which he later

 pleaded guilty.     After serving a five-month term of

 incarceration, Sessa was released in July 2009 and quickly

 resumed committing crimes in connection with the Colombo family

 in the hopes of fulfilling his well-known goal of becoming a

 soldier in the Colombo family.

                   l.    Michael Castellano

             Castellano is an associate of the Colombo family.

 Castellano is charged with racketeering conspiracy, including

 fraud as predicate acts, and multiple counts of fraud.            Notably,

 Castellano has a previous conviction for fraud.           While Castellano

 was released on bail in connection with his previous arrest,

 Castellano committed another act of fraud.




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                   m.    Giuseppe Destefano

             Destefano is an associate of the Colombo family.

 Destefano is charged with, among other crimes, racketeering

 conspiracy, including extortion and loansharking as predicate

 acts, and possession of a firearm after having been convicted of

 a felony.    Destefano has a prior felony conviction for

 loansharking.

                   n.    Anthony Durso

             Anthony Durso is an associate of the Colombo family.

 Durso is charged with participating in loansharking, a crime of

 violence.    In the charged offense, Durso and Sessa, with the aid

 of a knife, assaulted a loanshark victim.

             Sessa has described Durso as his most trusted associate

 and has noted that Colombo family member Savarese “loves” Durso.

 Among other criminal errands, Durso drove Sessa to a meeting with

 Favuzza and Castellazzo to retrieve the firearm that was to be

 used in Sessa’s induction ceremony and maintained possession of

 the firearm.

                   o.    Scott Fappiano

             Fappiano is an associate of the Colombo family.            He is

 has a prior felony conviction for reckless endangerment and is

 currently serving a term of probation.         Fappiano is charged with,

 among other crimes, racketeering conspiracy, including a robbery

 conspiracy and loansharking as predicate acts.           Notably, he


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 committed the charged crimes while serving a term of probation.

 In a consensual-recorded conversation, Fappiano also admitted

 that he gave tips about potential robbery targets to a crew of

 individuals committing home invasions.         He further admitted that

 he had stored some of the tools used in those robberies, but

 destroyed the evidence after those individuals were arrested.

             3.    Seriousness of Danger Posed by
                   the Defendants’ Release

             The seriousness of the danger posed by the defendants’

 release cannot be underestimated in light of their affiliation

 with the Colombo family, a violent criminal enterprise, and their

 involvement in crimes of violence and/or possession of weapons.

 As noted above, courts in this circuit have recognized that when

 organized crime defendants, such as the defendants in this case,

 are charged with employing violent conduct, the risk of continued

 violent conduct is substantial and justifies detention.            See

 Salerno, 631 F. Supp. at 1364.

             Moreover, a defendant poses a danger to the community

 not only when he commits acts of violence, but when he is likely

 to commit non-violent crimes that harm the community.            Here,

 beyond the crimes of violence described above, several of the

 defendants are charged with engaging in other crimes that are a

 detriment to the community, including narcotics distribution.             In

 addition, many of the defendants are charged with crimes that

 they committed while serving another sentence, or while on

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 supervised release, amply demonstrating their disregard for court

 orders and a high risk that they will continue to commit crimes

 if released pending trial.

             4.    Evidence of the Defendants’ Guilt

             As discussed above, the evidence of the defendants’

 guilt is exceedingly strong.        The government intends to prove the

 defendants’ guilt at trial through the testimony of numerous

 witnesses, including cooperating witnesses, many of whom were

 once the defendants’ co-conspirators.         In addition, the

 defendants were intercepted on wiretaps and hundreds of hours of

 consensual recordings discussing charged crimes.           Physical and

 documentary evidence, such as phone records, and surveillance

 evidence underscore the defendants’ guilt.

                               *           *          *

             In sum, in considering each of four relevant

 “detention” factors, the aforementioned defendants are a danger

 to the community and should be detained.

       B.    The Defendants Constitute a Risk of Flight

             The aforementioned defendants also constitute a risk of

 flight.    On the current charges, each defendant faces significant

 jail time, as detailed below:

             Andrew Russo:                 Up to 60 years’ imprisonment

             Daniel Capaldo:               Up to 100 years’ imprisonment

             Michael Castellano:           Up to 120 years’ imprisonment


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             Benjamin Castellazzo:         Up to life imprisonment

             Dennis Delucia:               Up to 45 years’ imprisonment

             Giuseppe Destefano:           Up to 110 years’ imprisonment

             Anthony Durso:                Up to 40 years’ imprisonment

             Scott Fappiano:               Up to 60 years’ imprisonment

             Emanuele Favuzza:             Up to life imprisonment

             Richard Fusco:                Up to 20 years’ imprisonment

             Reynold Maragni:              Up to 115 years’ imprisonment

             Anthony Russo:                Up to life imprisonment

             Joseph Savarese:              Up to life imprisonment

             Ralph Scopo, Jr.:             Up to 100 years’ imprisonment

             Ilario Sessa:                 Up to life imprisonment

             The significant sentences faced by these defendants

 give them a substantial incentive to flee.          See United States v.

 Dodge, 846 F. Supp. 181, 184-85 (D. Conn. 1994) (possibility of a

 “severe sentence” heightens the risk of flight).           In addition,

 defendants Andrew Russo, Capaldo, Castellano, Castellazzo,

 Delucia, Destefano, Fappiano, Favuzza, Fusco, Maragni, Anthony

 Russo, Savarese, Scopo and Sessa have also maintained their

 membership in or association with the Colombo family while

 serving terms of probation or supervised release.           Furthermore,

 the defendants Capaldo, Fappiano, Favuzza, Savarese, Scopo and

 Sessa also committed the charged crimes while serving terms of

 probation or supervised release.


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             Moreover, defendant Castellano has a history of

 committing offense involving dishonesty, including the use of

 false identification documents.        He thus cannot be trusted to

 abide by release conditions.        See United States v. Hollender, 162

 F. Supp. 2d 261, 265-66 (S.D.N.Y. 2001) (a defendant’s ability to

 flee, in light of involvement in “crimes the nature of which

 involve deception . . . [and] that those deceptions are alleged

 to have included the use of false and fictitious identities,”

 supported a finding that the defendant was a flight risk).

                                  CONCLUSION

             For the reasons set forth above, the government

 respectfully requests that the Court enter permanent orders of

 detention with respect to defendants Andrew Russo, Benjamin

 Castellazzo, Richard Fusco, Dennis Delucia, Reynold Maragni,

 Anthony Russo, Daniel Capaldo, Emanuele Favuzza, Joseph Savarese,




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 Ralph Scopo, Jr., Ilario Sessa, Michael Castellano, Giuseppe

 Destefano, Anthony Durso and Scott Fappiano.

 Dated:      Brooklyn, New York
             January 20, 2011

                                           Respectfully submitted,

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